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9
10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
13   T.B., individually and on behalf of all           Case No.   2:25-cv-3238
14   others similarly situated,
                                                       CLASS ACTION COMPLAINT
15                                   Plaintiff,
           v.                                          JURY TRIAL DEMANDED
16
17   BUMBLE BEE COMPANY, an
     unknown business entity,
18
                                  Defendant.
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1          Plaintiff T.B. (“Plaintiff”) brings this action on behalf herself and all others
2    similarly situated against Defendant Bumble Bee Company, an unknown business
3    entity (“Defendant”).
4                                NATURE OF THE ACTION
5          1.     This is a civil class action lawsuit against Defendant for false,
6    misleading, deceptive, and negligent sales practices regarding its kratom powder and
7    capsule products (collectively, the “Products 1”). Kratom is a dried leaf that is sold as
8    a loose powder, packaged into capsules, or made into an extract. However, what
9    reasonable consumers do not know, and Defendant fails to disclose, is that the active
10   ingredients in kratom are similar to opioids. That is, kratom works on the exact same
11   opioid receptors in the human brain as morphine and its analogs, has similar effects
12   as such, and critically, has the same risk of physical addiction and dependency, with
13   similar withdrawal symptoms. When reasonable consumers think of opiates and
14   opioids, they think of heroin, fentanyl, hydrocodone, oxycodone, and morphine; they
15   do not expect that the “all natural” product bought at their local corner store operates
16   like an opioid, with similar addiction and dependency risks. Kratom is perniciously
17   addictive – on an entirely different level than caffeine or nicotine – and it has sunk
18   its hooks into tens of thousands of unsuspecting consumers and caused them serious
19   physical, psychological, and financial harm. Defendant has intentionally and
20   negligently failed to disclose these material facts anywhere on its labeling,
21   packaging, or marketing materials, and it has violated warranty law and state
22   consumer protection laws in the process.
23         2.     Defendant relies on its Products’ innocuous packaging and the public’s
24   limited knowledge about kratom and its pharmacology to get users addicted, while
25   reaping profits along the way. Reasonable consumers do not expect the liquid
26
     1
      The Products include any and all Bumble Bee products, including the varying
27   kratom strains: “Red Borneo,” “Maengda Premium,” “Bali Gold,” “White Borneo,”
28   and “Green Borneo.”

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1    extract bottles, pouches of kratom powder, and bottles of kratom capsules, which
2    they can purchase at gas stations and corner stores, to contain a Products with the
3    same addictive potential of morphine and its analogs. Defendant relies on this
4    ignorance and does nothing to correct it. Such activity is outrageous and is in
5    contravention of California law and public policy.
6          3.     Defendant and its officers have engaged in a systemic effort to peddle
7    an addictive substance to unsuspecting and oftentimes vulnerable consumers.
8    Plaintiff seeks relief in this action individually, and as a class action on behalf of
9    similarly situated purchasers of Defendant’s Products, for: (i) violation of
10   California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et
11   seq.; (ii) violation of California’s Consumers Legal Remedies Act (“CLRA”), Cal.
12   Civil Code § 1750, et seq.; (iii) violation of California’s False Advertising Law
13   (“FAL”), Cal. Bus. & Prof. Code § 17500, et seq.; (iv) breach of implied warranty;
14   (v) unjust enrichment; and (vi) fraud by omission.
15         4.     Because this action concerns issues of addiction and medical status,
16   Plaintiff T.B. is filing under her initials for the sake of her personal privacy. Plaintiff
17   T.B. is a reasonable consumer who fell victim to Defendant’s omissions and
18   misrepresentations about the addictive nature of kratom, which operates like an
19   opioid, and became addicted as a result. Since addiction issues are still wrongly
20   stigmatized, Plaintiff T.B. is proceeding in this matter anonymously but will reveal
21   her name as necessary to the Court under seal.
22                                            PARTIES
23         5.     Plaintiff T.B. is a citizen of California who resides in Simi Valley,
24   California, and intends to stay there.
25         6.     Defendant Bumble Bee Company, an unknown business entity has not
26   registered itself as a business entity anywhere in the United States. Defendant’s
27   Products provide a link to their website, www.findthebee.com, that lists Defendant’s
28   headquarters as being in Los Angeles, California.

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1          7.     Plaintiff reserves the right to amend this Complaint to add different or
2    additional defendants, including without limitation any officer, director, employee,
3    supplier, or distributor of the Products who has knowingly and willfully aided,
4    abetted, and/or conspired in the false and deceptive conduct alleged herein.
5                               JURISDICTION AND VENUE
6          8.     This Court has subject matter jurisdiction over this action pursuant to 28
7    U.S.C. § 1332(d) because there are more than 100 class members and the aggregate
8    amount in controversy exceeds $5,000,000, exclusive of interest, fees, and costs, and
9    at least one Class member is a citizen of a state different from Defendant.
10         9.     This Court has personal jurisdiction over the parties because Plaintiff
11   T.B. resides in California, is a citizen of California, and submit to the jurisdiction of
12   the Court, and because Defendant has, at all times relevant hereto, systematically and
13   continually conducted, and continues to conduct, business in this District. Defendant
14   therefore has sufficient minimum contacts with this state, including within this
15   District, and/or intentionally availed itself of the benefits and privileges of the
16   California consumer market through the promotion, marketing, and sale of its
17   products to residents within this District and throughout this State. Additionally,
18   Defendant marketed and sold its kratom to Plaintiff in this District.
19         10.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
20   Defendant maintains its headquarters in this District, regularly does business in this
21   District, and the same misrepresentations, omissions, and injures giving rise to the
22   claims alleged herein have occurred in this District (e.g., the distribution and sale of
23   Kratom to Plaintiff, and Plaintiff’s subsequent addiction to kratom).
24                                FACTUAL ALLEGATIONS
25         A.     Background and Pharmacology of Kratom
26         11.    “Kratom” refers to the substance derived from the leaves of a tropical
27   tree, mitragyna speciosa (the “kratom plant”), indigenous to Southeast Asia, where it
28   has been used in herbal medicine since the 19th Century. Kratom’s first reported use

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1    in scientific literature was in 1836, when it was noted that Malays used kratom tree
2    leaves as a substitute for opium. Historic use of the kratom plant was particularly
3    well-documented in Thailand, Indonesia, and Malaysia, where kratom remains
4    popular to this day.
5          12.    Kratom is the most widely used drug in Thailand. This popularity does
6    not mean Thailand believes kratom is harmless. To the contrary, Thailand
7    understands that kratom is dangerous, as demonstrated by its ban of the substance in
8    1943.2 Kratom was also historically popular in Malaysia until it was banned in 1952
9    under the Poisons Act.
10         13.    Kratom’s varying, dose-dependent, effects have historically been part of
11   its appeal. For instance, the earliest accounts of kratom characterize kratom use for
12   both a stimulant effect during hard day-labor by chewing fresh kratom leaves, and
13   also as an analgesic or for relaxation by brewing kratom into a tea.
14         14.    In the Western world, kratom is sold online and at herbal stores, gas
15   stations, corner stores, smoke shops, and “head” shops where it is primarily marketed
16   as an herbal medicine or natural supplement to use to “treat” a variety of ailments
17   (e.g., pain, mental health, opioid withdrawal symptoms), and/or to obtain a “legal” or
18   “natural” high.
19         15.    To create consumable kratom products, kratom plant leaves are
20   harvested, dried, and crushed into a fine powder that is then packaged and sold in
21   pouches, capsules, or liquid formulations. 3
22
23
24   2
       In 1943, Thailand banned the possession, use, and propagation of kratom, and later
     banned all kratom sales, imports, exports, and consumption all together. However,
25   in 2021, Thailand decriminalized possession of kratom in response to a growing
26   pressure on its justice system to fix the country’s overcrowded prisons through
     liberalization of its drug laws.
27   3
       When kratom leaves are extracted into a liquid formulation, this is colloquially
28   called a kratom “extract shot.”

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1          16.    The chemicals in the kratom plant which produce a psychoactive effect
2    when ingested are called “alkaloids.” “Alkaloids” are a class of various naturally
3    occurring organic chemical compounds. The primary alkaloids in kratom leaves
4    responsible for kratom’s effects are mitragynine (“MG”) and 7-hydroxymitragynine
5    (“7-OH”).
6          17.    MG and 7-OH produce a wide spectrum of effects because they interact
7    with many different receptors in the brain. Studies show that MG and 7-OH interact
8    with alpha-2 adrenergic receptors (adrenaline), D2 dopamine receptors, and the
9    serotonin receptors (5-HT2A and 5-HT2C), all of which contribute to kratom’s
10   mood-lifting and stimulant-like effects.
11         18.    Most crucially, MG and 7-OH interact with the mu-opioid receptor.
12   The mu-opioid receptor produces the most addictive or habit-forming effects, such as
13   euphoria and analgesia. For this reason, the mu-opioid receptor is known as “the
14   gateway to addiction” because it is the receptor which all opioids interact with to
15   produce the classic opioid high feelings of euphoria, sedation, and pain relief.
16         19.    MG and 7-OH cause a variety of pharmacological effects depending on
17   their potency, resulting in a highly dose-dependent response to each kratom product.
18   For example, a low dose (0.5 grams to 3 grams) is typically described as stimulating
19   or energizing, whereas a high dose (3+ grams) is typically described as euphoric,
20   sedating, and analgesic. Nonetheless, in sufficient doses, kratom’s effects are
21   substantially similar to those of opioids and other drugs.
22         20.    Accordingly, kratom is referred to as a “quasi-opiate” by health
23   professionals because of its opioid-like characteristics. This concept that kratom is
24   essentially an opioid is affirmed by several facts: first, as discussed above, kratom’s
25   effects are substantially similar to those of opioids; second, kratom alleviates opioid
26   withdraw symptoms; and third, repeated use of kratom causes opioid withdrawal
27   symptoms.
28

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1          21.    Opioids are addictive not only because of the pleasurable effects that
2    they produce, but also because sudden cessation of opioid use causes severe
3    withdrawal symptoms which users feel compelled to avoid by taking more of the
4    drug. The tragedy of addiction is that users want to stop but cannot.
5          22.    All substances that act on the opioid receptors carry a high risk of
6    addiction, and kratom is no exception. Addiction occurs when an opioid is ingested
7    on a regular basis and, over time, the user develops a tolerance to the drug that
8    requires the user to consume an increased dose of the drug to achieve the same
9    effects a lower dose previously had. As these doses increase, the body becomes
10   dependent on the drug to feel normal and function properly. When the drug is
11   suddenly taken away or the user tries to stop taking the drug, withdrawal occurs.
12   Withdrawal symptoms cause the user to feel much worse than they did before they
13   started taking the drug and can be extremely painful and intolerable to the user.
14         23.    Indeed, kratom withdrawal symptoms are very similar to those of
15   traditional opioid withdrawal. These symptoms include irritability, anxiety,
16   difficulty concentrating, depression, sleep disturbance, including restless legs,
17   tearing up, runny nose, muscle and bone pain, muscle spasms, diarrhea, decreased
18   appetite, chills, inability to control temperature, extreme dysphoria, and malaise.
19         24.    Users typically start substances like kratom because of how good it
20   makes them feel, but once addicted, they use kratom to avoid the pain and sickness
21   of withdrawal. Use is no longer is about getting high, but about not feeling “sick.”
22         25.    Kratom users state that kratom addiction is unique in the way it sneaks
23   up on them. What is particularly insidious about kratom, they describe, is that
24   because they are unaware of kratom’s negative side effects and its addictive
25   potential, when they begin to experience the negative symptoms attributable to
26   addiction in the early stages of taking kratom products, they do not attribute it to the
27   kratom. Instead, kratom users then take more kratom believing the kratom
28   companies’ claims that kratom will help them feel better.

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1          26.    Long-term kratom users further report experiencing depression, anxiety,
2    anhedonia, and reduced sex drive due to their kratom use.
3          B.     Kratom Use and Addiction in the United States
4          27.    Kratom use in the United States has exploded over the past decade. As
5    of 2023, the American Kratom Association estimates that kratom is a 1.5 billion
6    dollar a year industry, with 11-15 million annual users in the United States, up from
7    3-5 million users in 2016.
8          28.    Kratom’s popularity is attributed to several factors: first, kratom is
9    marketed as a safe substitute for painkillers and so it appeals to consumers who
10   falsely equate “natural” with “safe;” second, kratom has received media attention as
11   a “nootropic” or “smart” drug because it is stimulating at low doses; third, kratom is
12   widely available and unregulated within the United States; fourth, it produces a
13   “pleasurable” high; and lastly, users are unaware of kratom’s opioid-like
14   characteristics, addiction, and withdrawal potential.
15         29.    However, kratom is still generally a relatively unknown substance to the
16   average consumer, and most people have never heard of it. Kratom sellers advertise
17   that it is a substitute for coffee, a pain reliever, a treatment for opioid withdrawal, an
18   antidepressant, an anti-anxiety supplement, and that it improves focus and gives
19   users a boost of energy to get through the day. These kratom companies universally
20   reiterate these purported “benefits” of kratom consumption, without disclosing any
21   of the corresponding harms of kratom use.
22         30.    Further, because kratom does not produce as extreme of a “high” as
23   cocaine or heroin, it is easy for users to take kratom daily without realizing they are
24   developing an addiction and harming themselves. This makes kratom particularly
25   insidious as addiction sneaks up on unsuspecting and uninformed users.
26         31.    As a result of kratom manufacturers, retailers, and advertisers failing to
27   warn consumers of kratom’s addictive potential, many kratom users find themselves
28   blindsided when they stop taking kratom and find themselves facing severe

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1    withdrawal symptoms after having stopped using what they thought was a harmless
2    supplement. Further, because kratom is relatively unknown in the United States,
3    there are not well-established recovery resources for addicted users to turn to for
4    resources and aid. Some kratom users turn to the Internet for support, and there are
5    well-populated and very active Internet forum support groups for consumers
6    struggling with, and recovering from, kratom addictions.
7            32.    The reports from addicted kratom users are heart-wrenching. Consistent
8    among these reports is a feeling of initial shock when users realized they had become
9    unknowingly addicted to kratom, and how difficult it was to stop their kratom use.
10   Below are several accounts from the “Quitting Kratom” forum on www.reddit.com,
11   which has over 45,000 members as of October 2024: 4
12
             One user wrote: “I’ve been on a 50gpd [grams per day] habit for about 4
13           years. Like most people here, I was in denial that the Kratom was
             causing my multitude of issues. How could it be the Kratom when
14           everyone keeps telling me how great it is? I made myself believe that
             I had underlying issues that the Kratom was helping. Spoiler: It wasn’t.
15           I slowly became a shell of the person I used to be. TRUE clinical
16           depression symptoms with zero joy in my life. I started browsing this
             subreddit and reading everyone’s stories and I related to every single one.
17           Everyone had the same exact experience I had and at that moment I
             knew it was the Kratom causing my depression.” (emphasis added).
18
19           A gas station employee wrote: “I work at a gas station where we sell
             kratom such as powders, gold and silver pills and especially shots etc
20           (you know which one I’m talking about) it’s just mind blowing to me
             how many people are practically addicted and how many customers
21           literally scavenge their money to pay for their daily shot. Why are
             people so addicted especially to those shots.”
22
23           Another user solicited “extract horror stories” – one user responded:
             “Took 2-3 shots a day for almost 2 years. How did it screw me up? Let
24           me count the ways. Financially it was draining me, 100%! I would
             estimate 60% of my hair fell out. My skin was grey. My eyes were
25           dark. I became a hermit. No longer wanted to do anything, including
26           self care or hygiene. Just taking a shower was a chore I had to talk myself

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         See https://www.reddit.com/r/quittingkratom.

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1          into the last few months. I was disgusting and did not care at all. All I
           cared about was that I had enough K for tomorrow.”
2
           In response to the same “extract horror stories” post, another user
3          responded: “I used [kratom extract] pills and sometimes the shots for
4          over 5 years. I’m now 290 days clean from them. They were so hard to
           kick bc of how addicting they are. And you can just walk in the store
5          and buy them. I was spending $45 day on this stuff. I wasted tens of
           thousands of dollars on it and my life suffered. Lots of my hair fell
6          out and it’s only now starting to grow back some, I think most of it is
7          gone for good. I’m repairing my marriage and friendships. Everything.
           Stay away from this stuff.”
8
           Another user responded: “Amen. This shit got hold of me as bad as
9          anything else I've ever done... spent WAY more money on these fucking
           things than real honest to God hard drugs back in the day. Anywhere
10         from 6-10 of these things daily for... years. Let's call it 7 at an average
11         of $18/pop = $126/day x 30 = $3780/month = about $45k/year. How
           fucking embarrassing. I made $140,000 last year living in Georgia
12         (pretty low cost of living) and pretty regularly get busted "borrowing"
           money from my 10 year old son. Fuck this; I'm not living like this
13         anymore.”
14
           About 2 years ago, another user wrote: “I saw ‘A Leaf of Faith’ and got
15         the impression that kratom was a generally friendly substance to use
           freely, never knowing how addictive it was, how much it was further
16         numbing me beyond how alcohol already was, how it was slowly wiping
           out my sex drive, and likely contributing to my perpetual brain fog. …
17         My second attempt [at quitting] was maybe another 7 or 8 months later.
18         Kratom was making me pretty miserable. I was reading posts in this
           subreddit and I was finally aware of how addicted I was; feeling crappy,
19         sluggish, and sorta spacey pretty much all the time.”
20         About 2 years ago, another user wrote: “What a difficult journey it has
21         been. I was a ~75 GPD [grams per day] user. Quitting kratom was one
           of the hardest things I’ve had to do in my life. I learned the hard way
22         that kratom causes withdrawals on a work trip 3 years ago. I should have
           stopped then and there but I gave in because the RLS was so bad. …
23         Kratom withdrawal is seriously no joke so don’t think you're the
           only one struggling so much. I'm only a week free but after this
24         experience I know for sure that I will never go back. Good luck
25         everyone!” (emphasis added).
26         About 2 years ago, another user wrote a post titled Kratom Is An
           Addictive Drug. It said, in part: “It’s been 23 hours since my last dose.
27         I just wanted to give my story hoping that it would help others see
28         that they’ve been lied to, deceived and manipulated into thinking this

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1          plant is ‘harmless and safe’. As a matter of fact, reading the horror
           stories on this subreddit was the first step in my recovery... I started
2          taking it almost 3 years ago after hearing about it on... well, Reddit. They
           touted it is a miracle plant that had all the benefits of an opioid with none
3          of the side effects.” (emphasis added).
4
           About 19 months ago, another user wrote: “I think the perfect word to
5          describe Kratom addiction is ‘insidious’. Here is the definition
           – ‘proceeding in a gradual, subtle way, but with harmful effects.’ I think
6          this is why it takes so long to realize what is going on. There was never
7          a rock bottom moment for me like there would be for other more
           conventional abused drugs. No overdose, no bad behavior, no
8          abusiveness to my family, no DWI, etc.. - It was just a lazy, slow descent
           into nothingness. I was living in a groundhogs day type of existence.
9          Wake up, go to work, leave work, buy an extract shot or 2, have dinner,
           drink my shot, mindlessly look at my phone and/or watch TV. Wake up
10         and do it all over again.” (italic emphasis in original, bold emphasis
11         added).
12         About 12 months ago, another user wrote: “I started using k[ratom] when
           I had knee surgery Dec 2019 so 3 years. I didn’t want to use pain
13         killers because I got sober from alcohol 3/6/2018 and i felt the pain
14         killers were going to make me relapse. I didn’t know I would end up
           in a worst place as I am now.” (emphasis added).
15
           About 2 years ago, another user wrote: “Was in bed all day yesterday
16         fighting withdrawals. I used to even be an athlete - strong lean and fit,
           until I got on [kratom] shots and extracts. Didn’t even get high any more
17         - just wanted to not feel bad.”
18
           About 4 years ago, another user wrote: “I researched kratom before using
19         it and almost every site promoted that its harmless with healthy benefits,
           and that its withdrawals are like coffee for 3 days max. Information
20         wasn’t clear that kratom could become a negative addiction that takes
21         months to recover” … “I took something I thought was helping me for
           1.5-2 years, not even knowing the downsides bc that information was
22         so misleading. It fucked up my digestion, energy, mood, brain fog,
           anxiety, etc. Fuck kratom, and fuck those who peddle it as a
23         harmless cure-all.” (emphasis added)
24         About 10 months ago, another user wrote: “For any newcomers: this stuff
25         is absolutely no joke. It’s not harmless and the wd [withdrawal]
           is definitely not like caffeine. I’ve cold turkey’d caffeine before and I
26         had a slight headache for a couple hours. I definitely have never woken
           up in a pool of my own sweat from not having my caffeine. … This stuff
27         is a drug. A serious drug. And it’s super freakin addictive. Extracts,
28         powder, or in my case, capsules…it doesn’t matter. Yes some forms are

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1          more addictive than others but the WD is hellacious no matter how
           you’re taking it.” (emphasis added).
2
           About 10 months ago, another user wrote: “This stuff is a drug, and
3          dangerous! I started taking it because of all the good things I heard
4          and read about it. I've never been addicted to or dependent on anything
           before, but this stuff has totally taken control of my life.” (emphasis
5          added).
6          About 9 months ago, another user wrote: “I finally realized a few weeks
7          ago how much of a negative impact kratom was having on my life. I
           noticed myself planning my whole day around my doses and making sure
8          when I left the house I’d bring an extra dose with me in a shaker bottle.
           It was heavily affecting my mood overall, but especially in public
9          settings. I did not want to leave my house most days even if I did dose.”
10         About 9 months ago, another user wrote: “I have been taking OPMS
11         black pills for about a year now. It has ran my bank dry. When I wake
           up in the morning I fucking crave this shit. I have never been addicted
12         to opiates or anything like that. I get to the point where I am going to go
           cold turkey and am so confident but when I wake up my brain makes me
13         think its okay to go get it. I cant talk to anyone about this in my family
14         or friends. I have a very high stress job and am also going through a
           nasty break up. I feel so alone with trying to stop and when I betray
15         myself and go to get more, i fight back tears in the parking lot (I am a
           grown ass man). I am not an emotional person and in my environment
16         theres no room for emotions. Should I tapper off? What the fuck do I
           do?”
17
18         About 3 months ago, another user wrote: “I was taking one to two opms
           gold shots a day (sometimes three) for about two years straight. When
19         the 24hr mark hit the withdrawals kicked in hard. I had become
           absolutely obsessed with scavenging 20$ togther to make sure I got my
20         shot each day. Constantly driving to the shop, hoping no one would see
21         me pop out. I wanted to quit every night but just couldn't stand the
           withdrawals. I finally quit (on day 17 ct) with the help of a quit buddy I
22         found in this sub. I'm still not right at all, RLS is there and my sleep is
           still off. I'm sneezing more than I ever have. But, music is back, I have
23         more money in my pocket and I feel free from the grips. I've still got a
           long ways to go but am committed to never touching that shit again. It
24         brought out the worst version of me.”
25
           33.   This Internet forum is filled with accounts just like these. The stories
26
     are consistent – well-meaning people who were looking to feel better, in mind body
27
28

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1    and spirit, by taking an “herbal supplement,” only to end up with an opioid-like
2    addiction.
3           34.    As these accounts make clear, the addictive potential of kratom is a
4    material fact to reasonable consumers which would help inform their purchase and
5    consumption decisions. Defendant’s Products have no warnings, whatsoever, that
6    kratom is similar to an opioid, is habit-forming, and that regular use will result in
7    opioid-like dependency with withdrawal symptoms similar to those of traditional
8    opioids.
9           35.    Consumers who knew the truth about kratom would not have purchased
10   Defendant’s Products or would have paid less than they did for them.
11          C.     Defendant Knew or Should Have Known it was Selling
                   a Highly Addictive Drug to Unsuspecting Consumers
12
13          36.    Despite its traditional medical uses, kratom dependence has been known

14   and observed for a long time and is well-documented in Southeast Asia, where the

15   plaint originates and has the longest history of use. Addiction to kratom among users

16   in Thailand, Indonesia, and Malaysia has been documented by scientists and

17   researchers in the United States since at least 1988.

18          37.    To reiterate, this is not an instance where scientific merit is still up for

19   debate. Western civilization has known for decades that kratom is highly addictive

20   and has the potential to cause physical and psychological dependence in regular

21   users. In Southeast Asia, it has been known for over a century that kratom is

22   addictive. For example, a 2007 study found that 2.3% of people in Thailand have

23   used kratom, and that many of those users developed a dependence on kratom to

24   avoid withdrawal.

25          38.    However, despite the fact that kratom’s addictive potential has been

26   known in the scientific community, does not mean that the general public is aware of

27   it. Indeed, most consumers do not know what kratom is and have no idea how

28   addictive it is.

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1          39.    Defendant operates under the brand name Bumble Bee and sells kratom
2    powders and capsules.
3          40.    No matter what Product consumers take, however, they are exposed to
4    significant levels of addictive alkaloids.
5          41.    Upon information and belief, Defendant has interacted with growers and
6    distributors in Southeast Asia who have disclosed the addictive nature of kratom to
7    it.
8          42.    Even without such interactions, Defendant has received numerous user
9    reports about the addictive potential of kratom in the United States.
10         43.    Furthermore, Defendant even claims on the packaging for its Products
11   that they are “Great alternatives to harsh opiates,” or that they provide “Relief from
12   opiates,” “Relief from opiate withdrawal and addiction.”
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     CLASS ACTION COMPLAINT                                                      14
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1          44.    Defendant therefore knew or should have known that the Products it
2    was selling were highly addictive.
3          45.    Despite this knowledge, Defendant has failed to disclose the addictive
4    potential of its Products on its website or anywhere on its Products’ packaging.
5          46.    Instead, Defendant’s packaging portrays its Products as some kind of
6    snake oil miracle natural supplement. See exemplar in the figure below.
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17         47.    As shown in the screenshot above, Defendant provides the following
18   description for its “White Borneo” capsules:
19         White Vein Borneo Kratom is the most useful strains [sic] of powdered
20         Mitragyna Speciosa, the effects of this tea offers excellent boost traits [sic]
           that make the consumer more proficient and efficient while working on some
21         project that needs energy or want [sic] to boost their concentration levels.
22         This strain is best for professionals or business people who are short on time
           and need more energy. Opt for using white borneo instead of coffee for a nice
23         pick me up. Shy away from this strain if you are looking for a good night rest.
24
           48.    By using phrases like “Opt for using white boreneo instead of coffee for
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     a nice pick me up,” Defendant downplays the seriousness of the drug it is selling to
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     consumers and instead attempts to conjure an impression of kratom as an all-natural
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     alternative to pharmaceuticals. Such language is deceitful and harmful to consumers
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     CLASS ACTION COMPLAINT                                                             15
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1    who rely on Defendant’s Product statements when making their purchasing
2    decisions.
3          49.    There is no warning to consumers that the Products interact with opioid
4    receptors, nor is there any warning that the Products are highly addictive and should
5    not be taken on a daily basis.
6          50.    Further, the packaging itself is innocuous. The light colors, pictures of
7    bees and leaves, and the constant representations of “100% natural” evoke a sense of
8    lightness and connection to nature. Nothing about this packaging would lead
9    reasonable consumers to believe they were purchasing compounds similar to opioids,
10   that act on the same mu-opioid receptors in the brain as opioids do. Nor would the
11   packaging lead reasonable consumers to presume that kratom is highly addictive.
12         51.    Defendant’s website is not only difficult to find but is entirely devoid
13   from any statements about the Products and warnings are nowhere to be found.
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     CLASS ACTION COMPLAINT                                                            16
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1          52.    Addiction is a disease, a medical condition. Thus, any product which
2    carries an addiction risk poses a concurrent health hazard, which is a material fact to
3    consumers. Accordingly, Defendant’s Products carry the threat of an unreasonable
4    health hazard which Defendant was obliged to disclose to consumers on its Products’
5    packaging.
6          53.    Further, those seeking help as they come off opioids may be drawn in
7    by Defendant’s statements about kratom without knowing that they risk trading one
8    addiction for another. Defendant has an obligation not only to remove such harmful
9    statements from its website, but to warn consumers about the potential risks of taking
10   kratom and to provide such a warning on the Product labels.
11         54.    The consequences of kratom addiction are not mild: “in humans, opioid-
12   like withdrawal symptoms have been reported following cessation of kratom use,”
13   though “the withdrawal syndrome appears to be less severe than withdrawal from
14   morphine.”
15         55.    While kratom withdrawal may be “less severe” than morphine
16   withdrawal, that is hardly a seal of approval – morphine withdrawal is one of the
17   most unpleasant experiences that one can endure in modern life. And kratom
18   withdrawal, while perhaps “less severe” than morphine withdrawal, is still an
19   “opioid-like withdrawal” (according to the World Health Organization), with the
20   same physical and mental symptoms.
21         56.    The risk of “opioid-like withdrawal symptoms” is a material fact to
22   reasonable consumers.
23         57.    As a kratom product manufacturer and distributor, Defendant occupied
24   a position of superior knowledge to the average reasonable consumer, who likely
25   knows next to nothing about kratom.
26         58.    Defendant, through its misleading advertising and its failure to disclose
27   kratom’s addictive properties on its Products’ labels, relied upon the average
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1    consumer’s incomplete knowledge of kratom to sell its Products and get users
2    addicted to kratom.
3          59.    The very fact that Defendant possesses the capability to manufacture
4    these Products shows that it understands the pharmacokinetic nature of kratom and
5    the substantial risk of addiction that it poses to consumers. Despite this, Defendant
6    markets its Products as if they are nothing more than over-the-counter energy or
7    nootropic supplements.
8          60.    Defendant fails to disclose kratom’s addictive potential because
9    Defendant knows that it is a material fact to reasonable consumers which would
10   influence their purchasing and consumption decisions, likely to Defendant’s
11   detriment.
12         61.    By any metric, Defendant’s conduct is immoral, unethical, and contrary
13   to California public policy.
14         62.    The United States is going through an opiate crisis that is shaking the
15   foundations of our society. Amid this crisis, Defendant is creating more addicts for
16   no reason other than to line its pockets, without adequate disclosures of its Products’
17   risks and through the use of false and misleading packaging. That cannot – and
18   should not – be allowed, at least when their conduct entails breaches of warranty and
19   violation of state consumer protection statutes (as it does here).
20         D.     Plaintiff T.B.’s Experience
21         63.    Plaintiff T.B. first purchased Defendant’s Products in or around 2020.
22   Plaintiff T.B. learned about kratom when looking for a non-addictive alternative to
23   pain management. Finding a non-addictive alternative was important to Plaintiff
24   T.B. who has been sober for 16 years. Plaintiff T.B. used Defendant’s Products with
25   no realization Plaintiff T.B. had an addiction until 2024 when Plaintiff T.B.
26   attempted to use less of Defendant’s Product. Once Plaintiff T.B. did so, Plaintiff
27   T.B. experienced severe withdrawal symptoms including insomnia, restless leg
28   syndrome, hot flashes, and cold flashes. This was the moment Plaintiff T.B. realized

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1    Defendant did not tell the truth about its Products, and that Plaintiff T.B. had become
2    addicted to them. Had Plaintiff T.B. known that Defendant’s Products were highly
3    addictive, by way of a warning on the Products’ packaging, Plaintiff T.B. would
4    have never purchased the Products or would have paid substantially less for them.
5                                  CLASS ALLEGATIONS
6
           64.    Class Definition. Plaintiff brings this action as a class action pursuant
7
     to Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3), on behalf of
8
     herself and all other similarly situated consumers, and seeks to represent a class (the
9
     “Class”) defined as:
10
                  All persons in the United States who, within the applicable
11                statute of limitations period, up to and including the date of
12                final judgment in this action, purchased Bumble Bee kratom
                  products.
13
14         65.    Plaintiff also seeks to represent a subclass of all Class members who

15   purchased Defendant’s Products in California, within the applicable statutory period

16   (the “California Subclass,” collectively, together with the Class, the “Classes”).

17         66.    Specifically excluded from the Classes are Defendant and any entities in

18   which Defendant has a controlling interest, Defendant’s agents and employees, the

19   judge to whom this action is assigned, members of the judge’s staff, and the judge’s

20   immediate family.

21         67.    Plaintiff reserves the right to amend the definition of the Classes if

22   discovery or further investigation reveals that the Classes should be expanded or

23   otherwise modified.

24         68.    Numerosity. Members of the Classes are so numerous that their

25   individual joinder herein is impracticable. On information and belief, the Classes

26   comprise of at least thousands of consumers throughout California and the United

27   States. The precise number of Class members and their identities are unknown to

28   Plaintiff at this time but may be determined through discovery. Class members may

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1    be notified of the pendency of this action by mail and/or publication through the
2    distribution records of Defendant.
3          69.     Commonality and Predominance. Common questions of law and fact
4    exist as to all Class members and predominate over questions affecting only
5    individual Class members. Common legal and factual questions include, but are not
6    limited to:
7          a.      whether the labels on Defendant’s Products have the capacity to
                   mislead reasonable consumers;
8
           b.      whether Defendant knew that kratom is a highly addictive
9                  substance;
10         c.      whether Defendant had a duty to inform consumers about the
                   risks inherent to consumption of its Products;
11
           d.      whether Defendant’s conduct alleged herein violated
12                 California’s False Advertising Law (“FAL”), Cal. Bus. & Prof.
                   Code § 17500, et seq., California’s Consumers Legal Remedies
13                 Act (“CLRA”), Cal. Civ. Code § 1750, et seq., and / or
                   California’s Unfair Competition Law (“UCL”), Cal. Bus. &
14                 Prof. Code § 17200, et seq.;
15         e.      whether Defendant’s conduct alleged herein constitutes unjust
                   enrichment;
16
           f.      whether Defendant’s conduct constitutes negligent omission;
17
           g.      whether Plaintiff and the Class are entitled to damages and/or
18                 restitution; and
19         h.      whether Plaintiff and the Class are entitled to attorneys’ fees
                   and costs.
20
           70.     Typicality. Plaintiff’s claims are typical of the claims of the Class in
21
     that Plaintiff and the Class sustained damages as a result of Defendant’s uniform
22
     wrongful conduct, based upon Defendant’s failure to inform Plaintiff and all others
23
     similarly situated that its Products are highly addictive and operate similarly to
24
     opioids.
25
           71.     Adequacy. Plaintiff will fairly and adequately protect Class members’
26
     interests. Plaintiff has no interests antagonistic to Class members’ interests, and
27
28

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1    Plaintiff has retained counsel that have considerable experience and success in
2    prosecuting complex class-actions and consumer-protection cases.
3          72.     Superiority. A class action is superior to all other available methods for
4    the fair and efficient adjudication of this controversy for, inter alia, the following
5    reasons: prosecutions of individual actions are economically impractical for
6    members of the Class; the Class is readily definable; prosecution as a class action
7    avoids repetitious litigation and duplicative litigation costs, conserves judicial
8    resources, and ensures uniformity of decisions; and prosecution as a class action
9    permits claims to be handled in an orderly and expeditious manner.
10         73.     Defendant has acted or failed to act on grounds generally applicable to
11   the Class, thereby making appropriate final injunctive relief with respect to the Class
12   as a whole.
13         74.     Without a class action, Defendant will continue a course of action that
14   will result in further damages to Plaintiff and members of the Class and will likely
15   retain the benefits of its wrongdoing.
16         75.     Based on the foregoing allegations, Plaintiff’s claims for relief include
17   those set forth below.
18                                         COUNT I
                 Violations of California’s Unfair Competition Law (“UCL”)
19                          Cal. Bus. & Prof. Code § 17200, et seq.
20         76.     Plaintiff re-alleges and incorporates by reference every allegation set
21   forth in the preceding paragraphs as though alleged in this Count.
22         77.     Plaintiff T.B. bringS this claim individually and on behalf of the
23   California Subclass against Defendant.
24         78.     The UCL prohibits unfair competition in the form of “any unlawful,
25   unfair, or fraudulent business act or practice and unfair, deceptive, untrue or
26   misleading advertising and any act.” Cal. Bus. & Prof. Code § 17200. A practice is
27   unfair if it (1) offends public policy; (2) is immoral, unethical, oppressive, or
28

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1    unscrupulous; or (3) causes substantial injury to consumers. The UCL allows “a
2    person who has suffered injury in fact and has lost money or property” to prosecute a
3    civil action for violation of the UCL. Cal. Bus. & Prof. Code § 17204. Such a
4    person may bring such an action on behalf of himself or herself and others similarly
5    situated who are affected by the unlawful and/or unfair business practice or act.
6          79.    As alleged below, Defendant has committed unlawful, fraudulent,
7    and/or unfair business practices under the UCL by: (a) representing that Defendant’s
8    Products have certain characteristics that they do not, in violation of Cal. Civil Code
9    § 1770(a)(5); (b) advertising goods and services with the intent not to sell them as
10   advertised, in violation of Cal. Civil Code § 1770(a)(9); (c) selling addictive
11   substances to unsuspecting consumers and profiting from their addiction; and (d)
12   failing to disclose that its Products pose a serious risk of addiction;
13         80.    Defendant’s conduct has the capacity to mislead a significant portion of
14   the general consuming public or of targeted consumers, acting reasonably in the
15   circumstances.
16         81.    Defendant’s conduct has injured Plaintiff T.B. and the California
17   Subclass she seeks to represent in that they paid money for a product that they would
18   not have purchased or paid more than they would have but for Defendant’s failure to
19   disclose the addictive nature of its Products. Such injury is not outweighed by any
20   countervailing benefits to consumers or competition. Indeed, no benefit to
21   consumers or competition results from Defendant’s conduct. Since consumers
22   reasonably rely on Defendant’s labels, and thus also its omissions, consumers could
23   not have reasonably avoided such injury. Davis v. Ford Motor Credit Co., 179 Cal.
24   App. 4th 581, 597-98 (2009); see also Drum v. San Fernando Valley Bar Ass’n, 182
25   Cal. App. 4th 247, 257 (2010) (outlining the third test based on the definition of
26   “unfair” in Section 5 of the FTC Act).
27         82.    Pursuant to California Business and Professional Code § 17203,
28   Plaintiff and the California Subclass members seek an order of this Court that

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1    includes, but is not limited to, an order requiring Defendant to (a) provide restitution
2    to Plaintiff and the other California Subclass members; (b) disgorge all revenues
3    obtained as a result of violations of the UCL; (c) pay Plaintiff and the California
4    Subclass members’ attorneys’ fees and costs; and (d) provide injunctive relief by
5    requiring Defendant to affix adequate warnings about the addictive nature of its
6    Products on the packaging.
7          83.    Here, equitable relief is appropriate because Plaintiff she may lack an
8    adequate remedy at law if, for instance, damages resulting from her purchase of the
9    Product is determined to be an amount less than the premium price of the Product.
10   Without compensation for the full premium price of the Product, Plaintiff would be
11   left without the parity in purchasing power to which she is entitled.
12                                       COUNT II
           Violations of California’s Consumers Legal Remedies Act (“CLRA”)
13                              Cal. Civ. Code § 1750, et seq.
14         84.    Plaintiff realleges and reincorporates by reference all paragraphs alleged
15   above.
16         85.    Plaintiff T.B. brings this claim individually and on behalf of the
17   California Subclass against Defendant.
18         86.    Plaintiff and California Subclass Members are consumers within the
19   meaning of California Civil Code § 1761(d).
20         87.    California Civil Code § 1770(a)(5) prohibits “[r]epresenting that goods
21   or services have sponsorship, approval, characteristics, ingredients, uses, benefits, or
22   quantities which they do not have or that a person has a sponsorship, approval,
23   status, affiliation, or connection which she or she does not have.”
24         88.    California Civil Code § 1770(a)(7) prohibits “[r]epresenting that goods
25   or services are of a particular standard, quality, or grade, or that goods are of a
26   particular style or model, if they are of another.”
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1          89.    California Civil Code § 1770(a)(9) prohibits “advertising goods or
2    services with intent not to sell them as advertised.”
3          90.    Defendant violated California Civil. Code §§ 1770(a)(5), (a)(7), and
4    (a)(9) by intentionally and misleadingly representing that its Products are “all
5    natural” and by failing to disclose that its Products are addictive, a fact which is
6    material to reasonable consumers such as Plaintiff and the California Subclass
7    members.
8          91.    Defendant’s misrepresentations and omissions deceive and have a
9    tendency and ability to deceive the general public.
10         92.    Defendant has exclusive or superior knowledge of kratom’s addictive
11   nature, which was not known to Plaintiff or the California Subclass members.
12         93.    Plaintiff and California Subclass members have suffered harm as a
13   result of these violations of the California Consumers Legal Remedies Act
14   (“CLRA”) because they have incurred charges and/or paid monies for the Products
15   that they otherwise would not have incurred or paid had they known that kratom is
16   addictive and causes withdrawals. As a result, Plaintiff and the California Class are
17   entitled to actual damages in an amount to be proven at trial, reasonable attorneys’
18   fees and costs, declaratory relief, and punitive damages.
19         94.    In compliance with the provisions of California Civil Code § 1782,
20   Plaintiff sent written notice to Defendant on March 6, 2025, informing Defendant of
21   her intention to seek damages under California Civil Code § 1750. The letter was
22   sent via certified mail, return receipt requested, advising Defendant that it was in
23   violation of the CLRA and demanding that it cease and desist from such violations
24   and make full restitution by refunding the monies received therefrom. The letter
25   expressly stated that it was sent on behalf of Plaintiff and “all other persons similarly
26   situated.”
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1                                       COUNT III
2                Violations of California’s False Advertising Law (“FAL”)
                          Cal. Bus. & Prof. Code § 17500, et seq.
3
           95.    Plaintiff realleges and reincorporates by reference all paragraphs alleged
4
     above.
5
           96.    Plaintiff T.B. bringS this claim individually and on behalf of the
6
     California Subclass against Defendant.
7
           97.    Defendant’s acts and practices, as described herein, have deceived
8
     and/or are likely to continue to deceive Class members and the public. As described
9
     above, and throughout this Complaint, Defendant misrepresented that kratom is not
10
     addictive. Such representation is not true.
11
           98.    By its actions, Defendant disseminated uniform advertising regarding its
12
     kratom Products to and across California. The advertising was, by its very nature,
13
     unfair, deceptive, untrue, and misleading within the meaning of California’s False
14
     Advertising Law (the “FAL”). Such advertisements were intended to and likely did
15
     deceive the consuming public for the reasons detailed herein.
16
           99.    The above-described false, misleading, and deceptive advertising
17
     Defendant disseminated continues to have a likelihood to deceive in that Defendant
18
     continues to misrepresent, without qualification, that kratom is not addictive.
19
           100. In making and disseminating these statements, Defendant knew, or
20
     should have known, its advertisements were untrue and misleading in violation of
21
     California law. Defendant knows that kratom is addictive yet fails to disclose this
22
     fact to consumers.
23
           101. Plaintiff and other California Subclass members purchased the Products
24
     based on Defendant’s representations and omissions that kratom is not addictive.
25
     Once her addiction developed, Plaintiff felt she could not stop purchasing
26
     Defendant’s Products despite her efforts to quit.
27
28

     CLASS ACTION COMPLAINT                                                            25
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1          102. The misrepresentations and non-disclosures by Defendant of the
2    material facts described and detailed herein constitute false and misleading
3    advertising and, therefore, constitutes a violation of the FAL.
4          103. As a result of Defendant’s wrongful conduct, Plaintiff and California
5    Subclass members lost money in an amount to be proven at trial. Plaintiff and
6    California Subclass members are therefore entitled to restitution as appropriate for
7    this cause of action.
8          104. Plaintiff and the California Subclass members seek all monetary and
9    non-monetary relief allowed by law, including restitution of all profits stemming
10   from Defendant’s unfair, unlawful, and fraudulent business practices; declaratory
11   relief; reasonable attorneys’ fees and costs; and other appropriate equitable relief.
12                                       COUNT IV
                                 Breach of Implied Warranty
13
           105. Plaintiff realleges and reincorporates by reference all paragraphs alleged
14
     above.
15
           106. Plaintiff brings this claim individually and on behalf of the Classes
16
     against Defendant.
17
           107. This claim is brought pursuant to the laws of the State of California.
18
           108. Defendant, as the designer, manufacturer, marketer, distributor, and/or
19
     seller of the Products, impliedly warranted that that kratom is not addictive and does
20
     not cause opioid-like withdrawal symptoms.
21
           109. Defendant breached this warranty implied in the contract for the sale of
22
     its kratom Products because the Products could not pass without objection in the
23
     trade under the contract description: the kratom Products were not adequately
24
     contained, packaged, and labeled as per Defendant’s contract with Plaintiff and
25
     members of the Classes, and the Products do not conform to the implied affirmations
26
     of fact made on the marketing and packaging for the Products that the Products are
27
     not addictive and do not cause withdrawals. U.C.C. §§ 2-313(2)(a), (e), (f). As a
28

     CLASS ACTION COMPLAINT                                                             26
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1    result, Plaintiff and members of the Class did not receive the goods as impliedly
2    warranted by Defendant to be merchantable.
3          110. Plaintiff and members of the Classes purchased the Products in reliance
4    upon Defendant’s skill and judgment and the implied warranties of fitness for the
5    purpose.
6          111. The kratom Products were defective when they left the exclusive control
7    of Defendant.
8          112. Plaintiff and members of the Classes did not receive the goods as
9    warranted.
10         113. As a direct and proximate cause of Defendant’s breach of the implied
11   warranty, Plaintiff and members of the Classes have been injured and harmed
12   because (a) they would not have purchased the Products on the same terms if they
13   knew that the Products were addictive and could cause opioid-like withdrawal
14   symptoms; and (b) the Products do not have the characteristics, uses, or benefits as
15   promised by Defendant.
16         114. On March 6, 2025, prior to filing this action, Defendant was served with
17   a pre-suit notice letters on behalf of Plaintiff that complied in all respects with
18   U.C.C. §§ 2-314 and 2-607. Plaintiff’s counsel sent Defendant a letter advising
19   Defendant that it breached an implied warranty and demanded that Defendant cease
20   and desist from such breaches and make full restitution by refunding the monies
21   received therefrom.
22                                        COUNT V
                                       Unjust Enrichment
23
           115. Plaintiff realleges and reincorporates by reference all paragraphs alleged
24
     above.
25
           116. Plaintiff brings this claim individually and on behalf of the Classes
26
     against Defendant.
27
28

     CLASS ACTION COMPLAINT                                                                27
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1          117. Plaintiff and the members of the Classes conferred a benefit on
2    Defendant in the form of the gross revenues Defendant derived from the money they
3    paid to Defendant.
4          118. Defendant had an appreciation or knowledge of the benefit conferred on
5    it by Plaintiff and the members of the Classes.
6          119. Defendant has been unjustly enriched in retaining the revenues derived
7    from Plaintiff and the Class members’ purchases of the Products, which retention of
8    such revenues under these circumstances is unjust and inequitable because
9    Defendant omitted that the Products were addictive and similar to opioids. This
10   caused injuries to Plaintiff and members of the Classes because they would not have
11   purchased the Products or would have paid less for them if the true facts concerning
12   the Products had been known.
13         120. Defendant accepted and retained the benefit in the amount of the gross
14   revenues it derived from sales of the Products to Plaintiff and the members of the
15   Classes.
16         121. Defendant has thereby profited by retaining the benefit under
17   circumstances which would make it unjust for Defendant to retain the benefit.
18         122. Plaintiff and the members of the Classes are, therefore, entitled to
19   restitution in the form of the revenues derived from Defendant’s sale of the Products.
20         123. As a direct and proximate result of Defendant’s actions, Plaintiff and the
21   members of the Classes have suffered in an amount to be proven at trial.
22         124. Here, equitable relief is appropriate because Plaintiff may lack an
23   adequate remedy at law if, for instance, damages resulting from her purchase of the
24   Product is determined to be an amount less than the premium price of the Product.
25   Without compensation for the full premium price of the Product, Plaintiff would be
26   left without the parity in purchasing power to which she is entitled.
27         125. Restitution may also be more certain, prompt, and efficient than other
28   legal remedies requested herein. The return of the full premium price will ensure

     CLASS ACTION COMPLAINT                                                            28
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1    that Plaintiff is in the same place she would have been in had Defendant’s wrongful
2    conduct not occurred, i.e., in the position to make an informed decision about the
3    purchase of the Products absent omissions with the full purchase price at her
4    disposal.
5                                        COUNT VI
                                      Fraud by Omission
6
           126. Plaintiff realleges and reincorporates by reference all paragraphs alleged
7
     above.
8
           127. Plaintiff brings this claim individually and on behalf of the Classes
9
     against Defendant.
10
           128. Defendant distributed its Products throughout the State of California.
11
           129. Defendant misrepresented that its kratom Products have attributes or
12
     qualities that they do not have by failing to disclose that kratom is addictive and can
13
     cause opioid-like withdrawal.
14
           130. Defendant knows that kratom is addictive because it interacts with
15
     kratom vendors, has been made aware of user reports, and has fully characterized
16
     kratom’s alkaloids and created advanced extraction methods.
17
           131. Defendant knows that knowledge of kratom’s addictive nature is a
18
     material fact that would influence the purchasing decision of reasonable consumers.
19
           132. The average reasonable consumer in the kratom purchasing context
20
     does not know that kratom is addictive and cannot reasonably access that
21
     information.
22
           133. Defendant therefore had a duty to Plaintiff and the members of the
23
     Classes to disclose that kratom is addictive and can cause withdrawals on the
24
     Products’ packaging.
25
           134. Consumers reasonably and justifiably relied on Defendant’s omission
26
     because it is reasonable to assume that a product which is addictive like an opioid
27
     would bear some kind of a warning.
28

     CLASS ACTION COMPLAINT                                                             29
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1          135. As a result of Defendant’s omission, Plaintiff and the members of the
2    Classes paid for kratom Products they may not have purchased, or paid more for
3    those Products than they would have had they known the truth about kratom
4                                   PRAYER FOR RELIEF
5          WHEREFORE, Plaintiff T.B. individually and on behalf of all others similarly
6    situated, seeks judgment against Defendant, as follows:
7          a.     For an order certifying the Classes and naming Plaintiff as
                  representative of the Classes and Plaintiff’s attorneys as Class Counsel
8                 to represent the Classes;
9          b.     For an order declaring Defendant’s conduct violates the statutes
10                referenced herein;
11         c.     For an order finding in favor of Plaintiff and the Classes on all counts
                  asserted herein;
12
           d.     For actual, compensatory, statutory, and/or punitive damages in
13                amounts to be determined by the Court and/or jury;
14         e.     For prejudgment interest on all amounts awarded;
15         f.     For an order of restitution and all other forms of equitable monetary
                  relief;
16
           g.     For injunctive relief as pleaded or as the Court may deem proper; and
17
           h.     For an order awarding Plaintiff and the Classes their reasonable
18                attorneys’ fees, expenses, and costs of suit.
19                               JURY TRIAL DEMANDED
20         Plaintiffs demand a trial by jury on all claims so triable.
21
     Dated: April 11, 2025             Respectfully submitted,
22
                                       BURSOR & FISHER, P.A.
23
24                                     By:    /s/   Ryan B. Martin
                                                    Ryan B. Martin
25
                                       Neal J. Deckant (State Bar No. 322946)
26                                     Luke Sironski-White (State Bar No. 348441)
27                                     Ryan B. Martin (State Bar No. 359876)
                                       1990 North California Blvd., 9th Floor
28                                     Walnut Creek, CA 94596

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